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                                                                         5                                   UNITED STATES DISTRICT COURT
                                                                         6                                 NORTHERN DISTRICT OF CALIFORNIA
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                                                                         8    DISCOVER FINANCIAL SERVICES, INC.,                    No. C07-80096 MISC PJH (EMC)
                                                                         9                   Plaintiff,
                                                                         10          v.
                                                                                                                                    NOTICE OF REFERENCE AND ORDER
United States District Court




                                                                         11   VISA U.S.A. INC., et al.,                             RE DISCOVERY PROCEDURES
                               For the Northern District of California




                                                                         12               Defendants.
                                                                              ___________________________________/
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                                                                              AMERICAN EXPRESS TRAVEL
                                                                         14   RELATED SERVICES COMPANY, INC.,
                                                                         15                  Plaintiff,
                                                                         16          v.
                                                                         17   VISA U.S.A. INC., et al.,
                                                                         18                  Defendants.
                                                                         19   ___________________________________/
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                                                                         23          TO ALL PARTIES AND COUNSEL OF RECORD:
                                                                         24          The above matter has been referred to Magistrate Judge Edward M. Chen for all discovery
                                                                         25   matters. Please be advised that if a specific motion was filed before the District Court prior to this
                                                                         26   referral, the noticed date may no longer be in effect. All hearing dates are subject to the availability
                                                                         27   of Judge Chen's calendar. Please contact the Courtroom Deputy, Betty Fong, at (415) 522-2034, to
                                                                         28   confirm or, if necessary, reschedule the hearing date. Regardless of whether the Court
                                                                         1    reschedules the hearing date, all opposition and reply papers shall be timely filed according to
                                                                         2    the originally noticed hearing date, pursuant to Civil L. R. 7-3.
                                                                         3                                    LAW AND MOTION PROCEDURES
                                                                         4           Civil law and motion is heard on Wednesday mornings at 10:30 a.m., Courtroom C, 15th
                                                                         5    Floor, United States District Court, 450 Golden Gate Avenue, San Francisco, California 94102.
                                                                         6    Motions to compel may be noticed without reserving a hearing date, subject to the Court's
                                                                         7    availability. Discovery motions may be addressed to the Court in three ways. A motion may be
                                                                         8    noticed on not less than thirty-five (35) days notice pursuant to Civil L. R. 7-2. Alternatively, any
                                                                         9    party may seek an order shortening time under Civil L. R. 6-3 if the circumstances justify that relief.
                                                                         10   In emergencies during discovery events, the Court is available pursuant to Civil L. R. 37-1(b). In
United States District Court




                                                                         11   the event a discovery dispute arises, counsel for the party seeking discovery shall in good faith
                               For the Northern District of California




                                                                         12   confer in person with counsel for the party failing to make the discovery in an effort to resolve the
                                                                         13   dispute without court action, as required by Fed. R. Civ. P. 37 and Civil L. R. 37-1(a). The meeting
                                                                         14   must be in person, except where good cause is shown why a telephone meeting is adequate. A
                                                                         15   declaration setting forth these meet and confer efforts, and the final positions of each party, shall be
                                                                         16   included in the moving papers. The Court will not consider discovery motions unless the moving
                                                                         17   party has complied with Fed. R. Civ. P. 37 and Civil L. R. 37-1(a).
                                                                         18          All filings of documents relating to motions referred to Magistrate Judge Chen shall list the
                                                                         19   civil case number and the District Court Judge's initials followed by the designation "(EMC)."
                                                                         20          All documents shall be filed at the Clerk's Office in compliance with the Civil Local Rules.
                                                                         21   Documents not filed in compliance with those rules will not be considered by the Court.
                                                                         22          At the time of filing of original papers with the clerk's office, the parties are required to
                                                                         23   submit two conformed copies of each document, one of which shall be designated "EMC
                                                                         24   Chambers' Copy." The chambers' copy shall be submitted on 3-hole punched paper.
                                                                         25          In all “E-Filing” cases, when filing papers that require the Court to take any action (e.g.
                                                                         26   motions, meet and confer letters, administrative requests), the parties shall, in addition to
                                                                         27   filing papers electronically, lodge with chambers a printed copy of the papers on three-hole
                                                                         28   punch paper (including all exhibits) by the close of the next court day following the day the



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                                                                         1    papers are filed electronically. These printed copies shall be marked “EMC Chambers Copy”
                                                                         2    and shall be submitted to the Clerk’s Office in an envelope clearly marked with the case
                                                                         3    number, “Magistrate Judge Edward M. Chen,” and “E-Filing Chambers Copy.” Parties shall
                                                                         4    not file a paper copy of any document with the Clerk’s Office that has already been filed
                                                                         5    electronically. A proposed order in an E-Filing case must be emailed to
                                                                         6    emcpo@cand.uscourts.gov as a Word Processing attachment on the same day that it is E-Filed.
                                                                         7    With permission, Chambers’ copes of documents may be submitted on CD-ROM with hypertext
                                                                         8    links to exhibits.
                                                                         9            In cases referred to Magistrate Judge Chen for discovery, if a party wishes to file a document
                                                                         10   under seal, that party shall first file a written request for a sealing order setting forth the good cause
United States District Court




                                                                         11   and accompanied by a proposed order, as provided by Civil L. R. 79-5.
                               For the Northern District of California




                                                                         12           Law and motion matters may be submitted without argument upon stipulation of the parties
                                                                         13   and notification of the Court no later than two (2) court days before the hearing. Pursuant to Civil L.
                                                                         14   R. 7-7(e), filed motions may be withdrawn without leave of the Court, within seven (7) days of the
                                                                         15   date for service of the opposition. Thereafter, leave of the Court must be sought.
                                                                         16           The failure of counsel or a party to abide by this Order may result in sanctions
                                                                         17   pursuant to Federal Rule of Civil Procedure 16(f).
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                                                                         19           IT IS SO ORDERED.
                                                                         20
                                                                         21   Dated: April 9, 2007
                                                                         22                                                            _________________________
                                                                                                                                       EDWARD M. CHEN
                                                                         23                                                            United States Magistrate Judge
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